Information to identify the case:
Debtor 1                 Deborah A. Bennett                                                     Social Security number or ITIN    xxx−xx−9715

                         First Name   Middle Name   Last Name                                   EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                                        Social Security number or ITIN _ _ _ _
(Spouse, if filing)      First Name   Middle Name   Last Name
                                                                                                EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court        Northern District of Ohio
                                                                                                Date case filed for chapter 13 2/1/19
Case number:          19−10527−jps



Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                   12/17


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                              About Debtor 1:                                               About Debtor 2:
1. Debtor's full name                         Deborah A. Bennett

2. All other names used in the
   last 8 years
                                              14004 Saybrook Ave.
3. Address                                    Cleveland, OH 44105
                                              Charles J. Van Ness                                           Contact phone 440−461−4433
4. Debtor's  attorney
   Name and address
                                              6181 Mayfield Road
                                              Suite 104
                                                                                                            Email: cjvlaw@prodigy.net

                                              Mayfield Heights, OH 44124

5. Bankruptcy trustee                         Lauren A. Helbling                                            Contact phone (216) 621−4268
     Name and address                         200 Public Square Suite 3860
                                              Cleveland, OH 44114−2321

6. Bankruptcy clerk's office                                                                                Hours open 9:00 AM − 4:00 PM
     Documents in this case may be filed      United States Bankruptcy Court                                Contact phone 216−615−4300
     at this address.                         Howard M. Metzenbaum U.S. Courthouse                          Date: 2/14/19
     You may inspect all records filed in     201 Superior Avenue
     this case at this office or online at    Cleveland, OH 44114−1235
      www.pacer.gov
     www.ohnb.uscourts.gov
                                                                                                                  For more information, see page 2




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Debtor Deborah A. Bennett                                                                                                           Case number 19−10527−jps

7. Meeting of creditors
    Debtors must attend the meeting to     March 20, 2019 at 10:30 AM                                        Location:
    be questioned under oath. In a joint                                                                    341 Meeting, H.M.M. US Courthouse, 201
    case, both spouses must attend.                                                                         Superior Ave, 6th Floor, Cleveland, OH 44114
    Creditors may attend, but are not      The meeting may be continued or adjourned to a
    required to do so.                     later date. If so, the date will be on the court
                                           docket.

                                                    *** Valid photo identification required ***
                                                *** Proof of Social Security Number required ***
8. Deadlines                               Deadline to file a complaint to challenge                                Filing deadline: 5/20/19
   The bankruptcy clerk's office must      dischargeability of certain debts:
   receive these documents and any
   required filing fee by the following
   deadlines.                              You must file:
                                           • a motion if you assert that the debtors are
                                              not entitled to receive a discharge under
                                              U.S.C. § 1328(f) or
                                           • a complaint if you want to have a particular
                                              debt excepted from discharge under
                                              11 U.S.C. § 523(a)(2) or (4).
                                           Deadline for all creditors to file a proof of claim                      Filing deadline: 4/12/19
                                           (except governmental units):
                                           Deadline for governmental units to file a proof of                       Filing deadline: 7/31/19
                                           claim:
                                                                                                                    Filing deadline: 7 days before the
                                           Deadline to File an Objection to Confirmation:                           confirmation hearing date.



                                           Deadlines for filing proof of claim:
                                           A proof of claim is a signed statement describing a creditor's claim. Effective February 1, 2019, the Electronic
                                           Proof of Claim (ePOC) filing program is available on the court's website for all users to file a Proof of Claim,
                                           Amended Proof of Claim, Withdrawal of Claim, and Supplement to a Claim. A login/password is not required to
                                           use ePOC. Parties not represented by an attorney and registered CM/ECF filers may use this service. Access
                                           and instructions for ePOC filing are available in the ECF and Case Info section of the court website at
                                            www.ohnb.uscourts.gov. Parties who would like to file a Proof of Claim manually may obtain a Proof of Claim
                                           form (Official Form B410) from the Forms page of the United States Court's website at www.uscourts.gov, or at
                                           any bankruptcy clerk's office.
                                           If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file
                                           a proof of claim even if your claim is listed in the schedules that the debtor filed.
                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                           claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                           For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                           including the right to a jury trial.


                                           Deadline to object to exemptions:                                        Filing deadline:     30 days after the
                                           The law permits debtors to keep certain property as exempt. If you                            conclusion of the
                                           believe that the law does not authorize an exemption claimed, you                             meeting of creditors
                                           may file an objection.

9. Filing of plan                          The debtor has not filed a plan as of this date. A copy of the plan and a notice of the hearing on confirmation will
                                           be sent separately. The hearing on confirmation will be held on:
                                           5/2/19 at 09:30 AM, Location: H.M. Metzenbaum Courthouse, 201 Superior Avenue, Courtroom #2B,
                                           Cleveland, OH 44114
10. Creditors with a foreign               If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                           any questions about your rights in this case.
11. Filing a chapter 13                    Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                        according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                           plan and appear at the confirmation hearing. A copy of the plan, if not enclosed, will be sent to you later, and if
                                           the confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation hearing. The
                                           debtor will remain in possession of the property and may continue to operate the business, if any, unless the
                                           court orders otherwise.
12. Exempt property                        The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                           distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as
                                           exempt. You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe that
                                           the law does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                     Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of
                                           a debt. However, unless the court orders otherwise, the debts will not be discharged until all payments
                                           under the plan are made. A discharge means that creditors may never try to collect the debt from the
                                           debtors personally except as provided in the plan. If you want to have a particular debt excepted from
                                           discharge under 11 U.S.C. § 523(a)(2) or (4), you must file a complaint and pay the filing fee in the
                                           bankruptcy clerk's office by the deadline. If you believe that the debtors are not entitled to a discharge
                                           of any of their debts under 11 U.S.C. § 1328(f), you must file a motion by the deadline.

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